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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GLOBAL MERCHANDISING SERVICES LTD.,

       Plaintiff,                                          Case No.: 1:18-cv-7829

v.                                                         Judge Thomas M. Durkin

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Young B. Kim
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

 Dismissal, without prejudice, as to the following Defendants identified on Schedule A of the

 Complaint.

               NO.                                  DEFENDANT
               397                              ChenCan Trading Store



 DATED: April 10, 2019                               Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
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                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
   Case: 1:18-cv-07829 Document #: 46 Filed: 04/10/19 Page 2 of 2 PageID #:4908



                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 10, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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